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                                    Expert Report of Russ Hicks
                               Nicholas James McGuffin v. City of Coquille, et al.
              ----------------------------------------------------------------------------------------------------
                                      Civil No. 6:20-cv-01163-MK
          IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF OREGON EUGENE DIVISION


Russ Hicks states the following:
My Background:

I am a retired, 30-year law enforcement officer and former police academy supervisor and
trainer. Specifically, I was the Basic Law Enforcement Academy (BLEA) Assistant Commander
and a police instructor (TAC Officer) at the Washington State Criminal Justice Training
Commission (WSCJTC) in Burien, WA.

The Basic Law Enforcement Academy (BLEA) is Washington’s mandated training academy for all
city and county entry-level peace officers in the state. Through a centralized training model,
Washington ensures all officers are equipped with the same base-level understanding of their
responsibility to the communities they serve, standards to uphold, and education for effective
community-oriented policing. To facilitate this training, WSCJTC hires exceptional training
officers from agencies throughout the state and current subject matter experts.1

I worked at the WSCJTC from April of 2007 to October of 2021. My assignment was to
supervise, lead, and manage instructors, contract instructors, manage curriculum, and
coordinate with police agencies throughout Washington State. I was also tasked to oversee the
daily operations of BLEA. As an instructor I taught and created curriculum for a variety of topics
to include crisis intervention training (CIT), crisis communication, criminal investigations, patrol
tactics, patrol operations, use of force, criminal law, implicit bias, de-escalation, hate crime
laws, criminal procedures, and case analysis.




1
    https://www.cjtc.wa.gov/training-education/blea
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As an academy instructor, I was interviewed and featured in numerous articles by local and
national media regarding the academy training on implicit bias, constitutional rights, de-
escalation, CIT, patrol tactics, and the WSCJTC academy structure.

I was a commissioned police officer for 25 years (1991-2016) which included work in a large
metropolitan city as well as in rural and smaller urban locations. I finished first in my academy
class and due to my strong work ethic and dedication, I was awarded numerous special
assignments throughout my career. These assignments have included: covert undercover
narcotics, internal affairs, plainclothes narcotics, witness protection unit, bicycle patrol, civil
disturbance unit, hostage negotiator, field training officer (FTO), community policing team,
critical incident stress management, uniformed patrol (rural and urban environments), and
police academy assistant commander and police academy instructor.

I have an extensive background in training, patrol, case analysis, investigations, and supervisory
assignments. I started as a police trainer in 2000 and over the course of 21 years I have trained
new, experienced, and supervisory law enforcement officers in Washington State, the Pacific
Northwest, and throughout the nation.

Janis Puracal and Andrew Lauersdorf of Maloney Lauersdorf Reiner, PC, and David B. Owens of
Loevy & Loevy, retained my analytical services and opinion through Hicks Consulting–LLC to
review specific facets of the law enforcement work product in the murder investigation of Leah
Freeman and the subsequent arrest and prosecution of Nicholas McGuffin that took place in
Coquille, Oregon between 2000 and 2011.

Materials reviewed include:
  1. October 2010, ABC 20/20 Special, Leah Freeman Murder
  2. February 2020, ABC 20/20 Special, Leah Freeman Murder, Follow-up
  3. 07/16/2000, Ulmer Interview of Lindgren
  4. 08/07/2000, CPD Reaves, re Lindegren
  5. 05/18/2010, McNeely Report, re John Lindegren
  6. 05/19/2010, Email from Dannels to Frasier
  7. 05/19/2010, Handwritten Notes, re Hjordis Lindegren
  8. 05/19/2010, Webley Report, re Hjordis Lindegren
  9. 05/19/2010, Wikipedia Printout
  10. 08/04/2010, Grand Jury Transcript of Hjordis Lindegren
  11. 08/04/2010, Grand Jury Transcript of John Lindegren
  12. 09/01/2016, Frasier Ltr to DOJ, re importance of Rudy statement
  13. 01/04/2023, Civil Suit Deposition of John Lindegren
  14. 09/02/2000, Backman Report
  15. 07/17/2000, OSP Lab Report
  16. 10/15/2010, Transcript of ABC News 20/20 Special
  17. 02/28/2020, Transcript of ABC News 20/20 Special
  18. 2011 Criminal Trial Transcript, Opening Statements
  19. 07/06/2000, HIT Notes
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20. 07/06/2000, OSP Lab Report
21. 07/06/2000, Photos of Mustang
22. 07/12/2000, CPD Zavala Report
23. 01/28/2010, HIT Team Notes
24. 08/05/2010, CPD Webley, Interview of David Breakfield
25. 07/13/2011, Trial Transcript, David Breakfield
26. 2022 Deposition of McNeely, re Breakfield
27. 2023 Deposition of Traglio, re Breakfield
28. 2023 Deposition of Robert Paul Frasier
29. Remote viewer, Hocus Pocus, A Look into the Claims of Ed Dames, printout
30. 2010-2011 Vidocq Synopsis of Freeman case
31. 08/10/2016, Frasier to DOJ
32. 2007 CPD Policy Manual (Complete Copy)
33. 2010 CPD Organizational Chart
34. 01/27/2023, Second Amended Complaint
35. 04/18/2016, DPSST records for Mark Dannels
36. Coquille Training Docs, re Dannels
37. 04/18/2016, DPSST records for Raymond McNeely
38. Coquille Training Docs, re McNeely
39. 06/15/2021, DPSST Transcript for Sean Sanborn
40. Coquille Training Docs, re Sanborn
41. 04/18/2016, DPSST records for Chris Webley
42. Coquille Training Docs re Webley
43. 08/11/2010, Grand Jury Transcripts of Mark Dannels
44. Deposition of Mark Dannels, July 14, and July 15, 2022
45. Deposition of Kip Oswald, December 22, 2021
46. 07/12/11 Criminal Trial Transcripts of Kip Oswald’s testimony
47. 07/21/10 Grand Jury Transcripts of Kip Oswald’s testimony
48. 2000-07-11 CCSO, Interview of Alicia Hyatt (Hartwell)
49. 2009-10-13 HIT Notes-p5 and 8
50. 2010-07-21 Grand Jury Testimony- Alicia Hyatt
51. 2010-07-21 Webley (CPD) Interview of Alcia Hyatt
52. 2010-08-11 Grand Jury Testimony- Alicia Hyatt
53. 2011-07-11 Trial Testimony- Alicia Hyatt
54. 2000-7-04 CPD, Ulmer, Messerle turns in shoe
55. 2000-07-05 CCSO Oswald, Found Shoe
56. 2000-07-05 CPD, Hall, Oswald at roadblock
57. 2000-07-05 North Bend PD, Young, report of investigation
58. 2000-07-07 CCSO, Oswald, Lewis’s receipt
59. 2000-07-23 CCSO, Lichte and Hermann, Hudson Ridge search
60. 2000-08-21 CCSO, Oswald, garbage dump on Hudson Ridge
61. 2000-08-22 CCSO Oswald, search shoe location
62. 2000-08-22 CCSO Oswald, search shoe location- photo set 1 and 2
63. 2021 CCDA Brady List
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   64. Deposition of Craig Zanni, December 17, 2021
   65. Coos County Sheriff’s Office Policy Manual revised 03-30-94
   66. 2000-08-03 Pex Dictated Notes from Scene
   67. 2000-08-07 Evidence Log – scene tape” at page 1 (first row Evidence No. 224)
   68. 2001-03-21 Property Request
   69. 2009-10-13 HIT Team Notes at page 7 (“vegetation not broken down by road”)
   70. Shawn Mast file

Additional materials reviewed:
   1.  IACP Brady Disclosure Requirements Model Policy
   2.  WSCJTC BLEA Class, Ethics PowerPoint 2017-2021
   3.  https://www.theiacp.org/sites/default/files/Brady-Giglio.pdf
   4.  WSCJTC, BLEA, Criminal Procedures, Introduction to Criminal Procedures PowerPoint,
       2007-2021
   5. WSCJTC, BLEA, Criminal Procedures, Procedures of Arrest PowerPoint, 2007-2021
   6. Washington State Criminal Justice Training Commission’s Basic Homicide Investigation,
       Law Enforcement In-Service Course No. 0240
   7. https://www.atg.wa.gov/hits-overview
   8. https://www.ojp.gov/pdffiles1/Digitization/138618NCJRS.pdf
   9. https://www.practicalhomicide.com/AboutPHI/bio.htm
   10. https://www.practicalhomicide.com/Textbooks/thebooks.htm
   11. Practical Homicide Investigation- Tactics, Procedures, and Forensic Techniques (fourth
       edition by Vernon J. Gerberth
   12. CALEA Standards for Law Enforcement Agencies Chapter 33, Training and Career
       Development, July 2006
   13. CALEA Standards for Law Enforcement Agencies Chapter 42-1, Criminal Investigation
       and Intelligence, July 2008
   14. IACP Training Key #558 Criminal Investigations
   15. WSCJTC BLEA Crime Scene Management PowerPoint 2014-2017
   16. WSCJTC Criminal Investigations, ID Process PowerPoint 2017-2021
   17. WSCJTC BLEA, Criminal Investigations, Search Warrant Preparation, 2017-2021
   18. WSCJTC BLEA, Criminal Investigations, Report Writing, 2017-2021

I reserve the right to supplement my opinions and review of this matter as the litigation
progresses.

Declarations-
    1. I have not authored any articles in the past 10 years.

    2. I have testified as an expert at trial or by deposition in the following cases:
           • Sara Lacy and Estate of Cecil Lacy, Jr. v. Snohomish County 2017 (trial testimony)
           • Russell v. Snohomish County 2019 (deposition)
           • Kinney v. Pierce County 2019 (deposition)

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       •   Dold v. Snohomish County 2022 (deposition)
       •   Provencher v. Pierce County 2022 (deposition)
       •   Novak v. City of Spokane 2022 (deposition)
       •   Avery v Seattle 2023 (deposition)
       •   The People of Colorado vs Quinten Stump 2023 (trial testimony)
       •   Strickland v Auburn 2023 (deposition)
       •   Harder v Seattle 2023 (deposition)
       •   Wondie v King County 2023 (deposition)
       •   Bishop v Buckley 2023 (deposition)
       •   Watkins v Olympia 2023 (deposition)
       •   Provencher v Pierce County 2024 (court testimony)
       •   Hayat v Montgomery County 2024 (deposition x2)
       •   N.U. v Tacoma 2024 (deposition x2)
       •   Estate of Karli Moore v Franklin County 2024 (deposition)
       •   Joquin/Korter v Lakewood 2024 (deposition)
       •   Washington State v Jeffrey Nelson 2024 (trial testimony)
       •   Estate of Joshua Sarrett v. King County 2024 (deposition)
       •   Estate of Jerome Holman v. Pierce County 2024 (deposition)
       •   Emanuel Fair v. Redmond, et al. 2024 (deposition)
       •   Estate of Moses Portillo v. Pierce County 2024 (deposition)

3. My CV is attached as a separate document also with the fee schedule included.

4. Hicks Consulting- LLC 2023-2024 fee schedule:

       •   $275.00 per hour for my research, review, and report preparation.
       •   $137.50 per hour for travel (portal to portal).
       •   $350.00 per hour for depositions and court testimony (5-hour minimum).




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          HICKS CONSULTING-LLC ANALYSIS AND OPINION
                        METHODOLOGY
My opinions are based on my experience, education, and training as a police officer, and a review
of the documents and depositions listed above. I reserve the right to amend my opinions as new
evidence becomes available in this case.

The methodology I use is the same used by law enforcement professionals, law enforcement
agencies and law enforcement consultants across the nation for decades. I have reviewed
relevant documentary evidence of the incident, witness statements, investigative reports,
depositions, and the other matters described in the list of materials above. These are all types of
evidence routinely relied on by law enforcement professionals and agencies to analyze the
actions and tactics of the law enforcement officers involved. After review, I then evaluate the
evidence in light of my own experience, education and training and guidelines, agency policies
and law enforcement accepted industry standards. I note that this methodology has long been
accepted in the industry, has been accepted by courts and been described with approval in
multiple reputable law enforcement publications and training materials.




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                                     Basic Facts
•   Homicide victim: Ms. Leah Freeman

•   Ms. Freeman went missing: City of Coquille, June 28, 2000, sometime between 9:15–9:30
    p.m.

•   Police Department Jurisdiction: Coquille Police Department

•   First shoe found: On June 28, 2000, around 11:30 p.m., Freeman’s right Nike athletic shoe
    was discovered by Tony Messerle next to a cemetery on North Elm Street in Coquille

•   Second shoe found with blood on it: On July 5th, 2000, Coos County Deputy Kip Oswald
    found Ms. Freeman’s left shoe in the middle of the road on Hudson Ridge.

•   Ms. Freeman found: August 3, 2000, Lee Valley Road, Coquille (down an embankment)

•   First task force started: July 5, 2000

•   First task force suspended: 2002

•   Second Task Force started: 2008 began task force. In 2010 new Coquille Police Chief Mark
    Dannels announced a task force had been convened to re-open the homicide
    investigation of Ms. Freeman.

•   Nicholas McGuffin arrested: In August 2010, McGuffin was indicted and arrested for the
    murder of Leah Freeman

•   McGuffin trial commenced: July 5, 2011

•   10-2 guilty verdict: July 19, 2011

•   Location of McGuffin’s incarceration: Coos County Jail 2010-2011, Snake River
    Correctional Institution (2011-2016), South Fork Forest Camp (2016-2019)

•   McGuffin’s conviction vacated: November 2019


•   Nicholas McGuffin released: December 2019




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 Section A: Failure to Disclose Exculpatory Material and
               the Destruction of Evidence
Opinion:

Officers of the Coquille Police Department and Coos County Sheriff’s Office failed to disclose
favorable information to the Coos County District Attorney’s Office and/or McGuffin’s criminal
defense attorney prior to and after the arrest, trial, and conviction of McGuffin. These failures
contributed to the arrest, prosecution, imprisonment, and conviction of McGuffin. These actions
were inconsistent with generally accepted police practices and procedures.

Basis:

Police Training: International Association of Chiefs of Police (IACP) Model Policy

The International Association of Chiefs of Police (IACP) Model Policy titled Brady Disclosure
Requirements, dated April 2009, under Section II, states, in part:

“The Brady decision and subsequent rulings have made it a duty of all law enforcement agencies
to: (1) Identify and provide to the prosecution any exculpatory material that would have a
reasonable probability of altering the results in a trial, or any material that could reasonably
mitigate the sentencing of a defendant and (2) any material relevant to the credibility of
government witnesses, including, but not limited to, police officers.”

The IACP Model Policy includes the following definitions in Section III:

“Material Evidence: Evidence is ‘material’ if there is a reasonable probability that disclosing it will
change the outcome of a criminal proceeding. A ‘reasonable probability’ is a probability sufficient
to undermine confidence in the outcome of the trial or sentencing of a criminal case.”

“Exculpatory evidence/Brady material: Brady violations are, by definition, violations of an
individual’s 14th Amendment right to due process of law. Exculpatory evidence is evidence that
is favorable to the accused; is material to the guilt, innocence, or punishment of the accused; and
that may impact the credibility of a government witness, including a police officer. Impeachment
material is included in the Brady disclosure requirements.”

“Duty to disclose: The affirmative constitutional duty of the police to notify the prosecutor of any
Brady material.”




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Police Training: Brady v. Maryland
In police academies across the nation and here in the Pacific Northwest, officers are provided
training in the seminal court decision: Brady v. Maryland and what an officer’s “Brady
obligations” entail.2 As the Assistant Commander at WSCJTC’s BLEA, I taught new recruits how
their disclosure obligations are germane to the most important attribute of a police officer:
integrity. In the BLEA class titled Ethics, I reiterated that all police officers have the fundamental
duty to be truthful and ethical in all aspects of their profession. We also discussed the higher
standard theory, the continuum of compromise and acts of commission and omission.3




Recruits are taught that in Brady v Maryland, the court ruled that prosecutors have the duty to
turn over all evidence obtained in a criminal investigation to the defense whether favorable or
not to the accused. This requires all police officers to document and turn over all evidence
obtained to the prosecutor.

The recruits are also taught that prosecutors have the duty to inform the defense of credibility
issues with all prosecution witnesses to include police officers. The police departments in turn
have the duty to notify the prosecutor’s office of any impeachment information regarding a
police officer. The ruling explained that the defense has the right to know if a police officer has
any integrity issues. Officers with reported issues are put on what is called the “Brady List.” The
following are excerpts from the International Association of Chiefs of Police Brady v Maryland



2
    Brady v. Maryland:: 373 U.S. 83 (1963)
3
    WSCJTC BLEA Class, Ethics PowerPoint 2017-2021
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presentation that incapsulates the information that is commonly taught to police officers across
the nation.4




4
    https://www.theiacp.org/sites/default/files/Brady-Giglio.pdf
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Adequately trained police officers are also trained on another line of cases that make it clear to
police officers that they violate due process through the destruction of favorable evidence in the
course of an investigation or prosecution.

Applicable Coquille PD Policy: Brady v. Maryland
The 2007 Coquille Police Department Manual has a policy regarding the Brady v. Maryland court
decision:5

           1026.9 BRADY MATERIAL IN PERSONNEL FILES
           The purpose of this section is to establish a procedure for releasing potentially
           exculpatory information (so-called Brady material) contained within confidential
           personnel files.

           1026.91 DEFINITIONS
           Brady Material- In the Brady v. Maryland decision (363 U.S. 83 (1963)) the United
           States Supreme Court held that the prosecution has an affirmative duty to disclose
           to the defendant evidence which is both favorable and material to the guilt and/or
           punishment of the defendant.

           The Prosecution- Refers to the District Attorney and all investigative agencies
           involved in the criminal prosecution of a defendant, including this department.

           Oregon Revised Statutes 135.815- Oregon law also establishes a criminal
           defendant’s right to access potentially exculpatory evidence.

Applicable Coquille PD Policy: Chapter 344 Report Preparation
Section 344.11 of the Coquille PD policy manual states that:6

           “All reports shall accurately reflect the identity of the persons involved; all
           pertinent information seen, heard, or assimilated by any other sense, and any


5
    2007 Coquille Police Manual, Chapter 1026.9 Brady Material
6
    2007 Coquille Police Manual, Chapter 344.11, Report Preparation
                                                                              HICKS CONSULTING- LLC   12



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        actions taken. Employees shall not repress, conceal, or distort facts of any
        reported incident, nor shall any employee make a false report orally or in writing.”

Applicable Coquille PD Policy: Conduct That May Result in Discipline
Section 340.35 of the Coquille PD policy relates to officer discipline. Section 340.35 states
that:7

        (P) Failure to disclose material facts or the making of any false or misleading
        statement on any application, examination form or other official document,
        report, or form.

        (Q) Failure to take reasonable action while on-duty and when required by law,
        statute, resolution or approved Department practices or procedures

I address some of these issues below.

    1. Notes and information related to witness John Lindegren

Officer McNeely and Officer Webley did not turn over their handwritten notes that show that
witness John Lindegren’s details of the show “Survivor” were incorrect.8 A properly trained officer
would have understood these notes needed to be preserved and produced because they could
have been used to attempt to question the credibility of Lindegren’s alleged eyewitness account
of seeing McGuffin and Freeman together after 9:00 p.m. on the night that she disappeared.
District Attorney Frasier relied on Lindegren’s account of watching Survivor when he was
assessing Lindgren’s credibility.9 In his deposition, District Attorney Frasier confirmed that if he
had known this information it would have been problematic.10

Officer McNeely and Officer Webley also did not disclose their knowledge that Lindegren was not
sure that the person he saw on June 28th, 2000, was indeed McGuffin.11 Lindegren testified in his
deposition that he told McNeely and Webley that he was not confident about his identification
of McGuffin.12 That information was not reported to the prosecutor and, in turn, the defense. A
properly trained officer would have understood this information had to be disclosed and was
important to disclose because, again, it could have been used to attempt to undermine the
credibility of Lindegren’s alleged eyewitness account of seeing McGuffin and Freeman together
after 9:00 p.m. on the night that she disappeared.
Standard police practices that existed at the time in 2010 would have required that the
information related to Lindegren be documented in official police reports and turned over to the

7
  Id, Chapter 340.35, sections P, Q
8
  05/19/2010, Handwritten Notes, re Hjordis Lindegren; 05/19/2010, Wikipedia Printout; 05/18/2010 McNeely
Report, re John Lindegren; 05/19/2010 Webley Report, re Hjordis Lindegren
9
  09/01/2016, Frasier Ltr to DOJ, re importance of Rudy statement
10
   Deposition of Robert Paul Frasier, August 29, 2023, Page 154, Lines 17-20
11
   Id., Page 155, Line 1 through Page 156, Line 24
12
   Deposition of John Lindegren, Page 136, Line 20, through Page 137, Line 14, and Page 174, Lines 14-17
                                                                             HICKS CONSULTING- LLC          13



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prosecutor. Even though other information about Lindegren was documented and turned over,13
the failure to disclose this favorable information was not, which is a significant departure from
standard police practices, including how standard police practices implement the “Brady
obligations.”

       2. Notes and documents related to witness Nick Backman

Deputy Sheriff Zanni and the investigative team did not disclose notes and evidence documenting
that witness Nick Backman observed Freeman walking by the credit union ATM at 9:04 pm on
June 28th14. Deputy Sheriff Zanni received information from Backman, which he documented in
handwritten notes, and also received an ATM receipt documenting the exact time of the sighting.
An officer who is consistent with training and standards would have understood this information
was important and needed to be disclosed because Backman’s sighting of Freeman outside the
credit union at 9:04 p.m. could have been used to attempt to contradict Lindegren’s account.

Established police practices that existed at the time in 2000 would have required that the
information related to Backman be documented in official police reports and turned over to the
prosecutor. Established police practices further would have required that the receipt (i.e.,
physical evidence) be tagged, logged, and preserved. The fact that neither the Coquille Police
Department nor the Coos County Sheriff’s Office disclosed the receipt was a departure from
accepted police practices, either because the information was suppressed or because it was
destroyed in contravention of the well understood duty to preserve and disclose all favorable
information learned or obtained in a criminal investigation.

The withholding or destruction of the ATM receipt is consistent with the information never being
placed into the official file for the Freeman investigation. If this is the case, it would represent a
fundamental failure by the Coquille Police Department and the Coos County Sheriff’s Office to
act in accordance with established obligations to preserve and disclose favorable material in the
course of a criminal investigation and prosecution. The evidence I have seen is consistent with,
and even suggests, the existence of a separate “working file” that included information and
documents of which officers were aware, but never disclosed to the prosecutor. By 2000, it was
well-established that law enforcement agencies were required to maintain all evidence, whether
physical evidence, witness statements, or otherwise, and that standard police practices forbid
the suppression of information in clandestine “working files.” Any policies or customs of the
Coquille Police Department and the Coos County Sheriff’s Office that permit evidence to be
suppressed or destroyed represent a significant departure from established police practices.

       3. Notes from the HIT Team meetings

In another departure from established policing standards at the time, officers from the Coquille
Police Department did not disclose notes from internal “homicide investigation team” (also called

13
     05/18/2010, McNeely Report, re John Lindegren
14
     Deposition of Robert Paul Frasier, August 29, 2023, Page 181, Lines 19 through Page 182, Line 17
                                                                                   HICKS CONSULTING- LLC   14



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the “major crime team”). There was favorable information recorded in those notes that was not
documented in official police reports and that even contradicted information reported in official
police reports.

For example, the investigative team speculated that McGuffin drove home to switch cars after
killing Freeman. On June 28, 2000, the night that Freeman disappeared, Coquille PD Officer Zavala
stopped McGuffin because of a defective headlight on his blue Mustang. Zavala did not document
the stop until two weeks later on July 12, 2000. This was after the investigative team pursued
McGuffin as the lead suspect in Freeman’s disappearance. Zavala reported that, after the traffic
stop at about 10:35 p.m., Zavala “saw Nick drive over the bridge, which at the time struck me as
odd. I was trying to figure out why Nick drove over the bridge if he was looking for Leah, when
Nick knew she was last seen in town.”15

Failing to document this event contemporaneously, rather than two weeks later, was a departure
from established practices.

The investigative team was aware that McGuffin did not drive over the bridge to go home at
10:35 p.m. The investigative team did not disclose in discovery a copy of a note from the
“homicide investigation team” meeting referring to the investigative team’s knowledge of the
records that showed that McGuffin made a phone call to his parents’ home phone at 10:44 p.m.
from the pay phone at Fast Mart in town. This pay phone was located in the opposite direction
of the McGuffin home on Baker Road. The investigative team knew that McGuffin’s location at
the Fast Mart in town at 10:44 p.m. would not allow for time to drive home after Zavala’s traffic
stop to change cars and still make it back to town by 10:44 p.m. The investigative team failed to
disclose in discovery their knowledge of the phone call at the Fast Mart.16 Standard police
practices that existed at the time would have required that the information related to the phone
call be documented in official police reports and disclosed.

The notes indicates that the investigative team was in possession of records from the Fast Mart
pay phone that confirm McGuffin’s timeline. Assuming that were the case, established police
practices at the time would have required that the phone records (i.e., physical evidence) be
tagged, logged, and preserved. If the Coquille Police Department did not turn over the phone
records themselves, not doing so would have been a departure from standard police practices.

Disclosing one report purporting to be inculpatory but failing to disclose notes and phone records
that would have been favorable to the defense would be a significant departure from standard
police practices. Assuming that officers knew about evidence that suggested untruthfulness by
another officer (i.e., Officer Zavala), failure to report or disclose that information is a further
departure from standard police practices, including the requirement to report officer
misconduct.


15
     2000-07-12 CPD Zavala Report.
16
     2010-01-28 HIT Team Notes at 1
                                                                     HICKS CONSULTING- LLC     15



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   4. Notes Related Shawn Mast

In another significant departure from established policing standards at the time, the Coquille
Police Task Force did not disclose an important “person of interest” file to the District Attorney
or to Mr. McGuffin’s criminal defense team. This person of interest file listed a suspected “sexual
deviate” as a “subject of interest” in Ms. Freeman’s murder. The sexual deviant was identified as
24 year old, Shawn Paul Mast.

Most importantly, the file documents that Mast was a subject of interest who had been contacted
out near where Ms. Freeman's body had been found by officers and was acting somewhat
suspicious. Additionally, Mast also lived in the area near where Ms. Freeman's body was found.

The CPD file titled “Shawn Mast File” also contains documents that CPD gathered related to
Mast’s ex-wife (Teresa) petitioning the court for an annulment because of Mast’s sexually deviate
behavior. The file further includes photos and handwritten notes of what appears to be Mast’s
collections of women’s underwear, tampons, and other odd items. From the type-written
investigative notes, it appears that Mast specifically had a fetish for women’s underwear, socks,
and nylons. That fact is of particular interest, because when Ms. Freeman’s body was found, she
was missing her underwear and one sock, which have never been found. The notes also say Mast
liked young girls with blond hair, which matches Ms. Freeman.

Additionally, the file documented that Teresa Mast reported that Shawn had violent tendencies
and had once held a handgun to her face and threatened to kill her.

Again, none of these documents were disclosed to the prosecution or Mr. McGuffin’s defense
counsel. Significantly, the type-written investigative notes were never turned into police reports.
Standard police practices that existed at the time required that officers document all
investigative activities in a format that reveals the investigative steps taken, the date(s) of the
investigation, and the officer conducting those investigative steps. A formal report is necessary
to preserve evidence, including potentially exculpatory evidence, so that it can be disclosed as
required by Brady. The fact that the entire “Shawn Mast File” was withheld from the prosecution
is a significant departure from standard police practices, especially given the significance of the
information documented in the type-written notes from investigative actions.


   5. Lack of policy to handle Brady material

It is unclear who at the Coquille Police Department was responsible for making sure that all
information, including favorable information, was turned over to the District Attorney. There are
no audits, logs, or methods in place to determine what was produced to the District Attorney and
by whom. In 2010, and well before, it was well-established that a protocol is necessary for
ensuring disclosure of all materials generated in the course of an investigation, particularly a
serious one involving homicide. Yet, the CPD lacked such policies and practices, which obviously
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created a substantial risk that evidence would be lost, suppressed, or destroyed. This is a
departure from long standing police practices for documenting and preserving evidence.



             Section B: Improper Procedure for Eyewitness
                             Identification
Opinion:

Officers of the Coquille Police Department failed to adhere to generally accepted police
practices and procedures while conducting a photo array of McGuffin’s vehicle thus influencing
an eyewitness. This failure contributed to the arrest, prosecution, imprisonment, and
conviction of McGuffin. The officers’ actions were inconsistent with generally accepted police
practices and procedures.

Basis:

Police Training: Eyewitness Identification Procedures
Standard practices used by law enforcement for showing photo arrays to witnesses were well
established before 2010. The standard practices include:

       •   The witness must be shown multiple photographs. “Show ups” (i.e., using only one
           photograph of the suspect) are improper.
       •   Filler photographs used in the photo array should be similar to the photograph of the
           suspect.
       •   The suspect’s photograph should not be significantly different than the other five filler
           photographs.
       •   The witness must be given an admonishment that the suspect may or may not be in the
           photo array.
       •   Affirming the witness’s choice as “correct” contaminates the witness’s ability to consider
           other possibilities and falsely inflates the witness’s confidence to appear more certain
           than he/she may be.

These practices apply whether the officer is showing a photo array to identify the suspect, or any
identifying item associated with the suspect such as a vehicle.

Police recruits are taught how to present photos to witnesses in police investigations.17 Below
are slides from the BLEA Criminal Investigation’s class called ID Process.




17
     WSCJTC Criminal Investigations, ID Process (2017) PowerPoint
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It is important to note that recruits are trained that the process and details of the photo
presentation will be documented. Standard police practices require that officers document the
admonishment signed by the witness, the photos used in the array, the witness’s choice of
photo(s), and any certainty statements made by the witness during the process.

Officer McNeely and Officer Webley conducted a photo array with witness Alicia Hyatt in 2010.
The manner in which that photo array was conducted, including the lack of documentation
related to the photo array procedure, represents a significant departure from standard police
practices. In addition, the documentation that exists strongly supports an inference that the
officers intentionally tried to construct an unfair and suggestive array designed to ensure that
the witness would almost certainly pick out McGuffin’s vehicle ten years after the alleged
sighting.
On July 21st, 2010, Alicia Hyatt (Hartwell) testified at the Coos County Grand Jury proceedings.
During her testimony, Hyatt stated that the vehicle she observed behind her alleged sighting of
Freeman on June 28, 2000, was a dark colored Honda or Nissan compact car.18

On that day (apparently shortly after the grand jury testimony) Officers Webley and McNeely met
with Hyatt at the Myrtle Point Police Department. Officer Webley wrote that he showed Alicia
different photos of vehicles and that Hyatt picked put “McGuffin’s blue Mustang as a possible
identification of the car.”



18
     Grand jury testimony of Alicia Hyatt (Hartwell), July 21st, 2010, page 37
                                                                                  HICKS CONSULTING- LLC   18



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The following is an excerpt of Officer Webley’s report regarding Hyatt’s eyewitness account of a
vehicle seen by her during her sighting of Freeman on June 28, 2000:19

        According to Hartwell the car behind them pulled in by Leah and someone on the
        passenger side either got out or leaned out of the window. When showed photos
        of different cars, Hartwell chose McGuffin's blue Mustang as a possible
        identification of the car.

There are no records of what photos were presented, if an admonishment was given, or any
documentation of the presentation to Hyatt.

On August 11, 2020, Hyatt again testified at the grand jury proceedings. This time Hyatt testified,
“I didn’t recognize it [vehicle] until I saw pictures of it.” Hyatt went on to testify that the vehicle
she observed next to Freeman on June 28, 2000, was a “blue mustang.”20

On July 11th, 2011, Hyatt testified at the murder trial of McGuffin. In her testimony, Hyatt stated,
“It was an older model car, that looked like the front end of a Mustang.”21

It is important to note that throughout all of the different venues, Hyatt testified that she knew
a lot about cars because her father was a mechanic and her mother was a car enthusiast.

It is notable that with Hyatt’s vast knowledge of cars, her statements and testimony changed so
dramatically from a dark colored, compact, Japanese car to an older model, blue Mustang after
she met with Officers McNeely and Webley and was shown photos.

Furthermore, there were no details in Officer Webley’s report on how the photo montage was
presented, if there was an admonishment, and how the identification was made. The absence of
documentation represents a significant departure from standard police practices. An officer
adhering to standards and training, would not have thought it was appropriate to omit that type
of documentation, especially when the identification is made ten years after the fact and
represents a marked difference from the witness’s description just hours earlier.
In addition, handwritten notes from the 2009 HIT team indicate that there was a video camera
in the interview room at the Myrtle Point Police Department when Hyatt was interviewed.
However, there is no documentation that the identification process was recorded or, if it was,
that the video was turned over.

With no record of the photo montage presentation, this is a gross deviation from training and
standards. It is also entirely inconsistent with investigative standards, training principles, and
general police practices, policies, and procedures.

19
   City of Coquille Police Department Incident Report, #Q2001905, authored by Officer Webley, dated 07-24-10
20
   Grand jury testimony of Alicia Hyatt (Hartwell), August 11, 2010, page 166-167
21
   Trial testimony of Alicia Hartwell, July 11th, 2011, D4 232
                                                                               HICKS CONSULTING- LLC           19



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           Section C: Lack of Factual Basis for Reporting
Opinion:

Officers of the Coquille Police Department failed to adhere to standard police practices for
accurate reporting and for assessing the trustworthiness of the information provided in reports.
This failure contributed to the arrest, prosecution, imprisonment, and conviction of McGuffin.
The officers’ actions were inconsistent with generally accepted police practices and procedures.

Basis:


Police Training: Search Warrants and Report Writing22 23
Police recruits are given foundation training on how to prepare police reports and search
warrants. Recruits are taught that the most important aspect of these endeavors is to accurately
represent the facts for the record. Police recruits are specifically taught it is improper and illegal
to embellish or make false representations in a report. Below are some examples of training
slides from the WSCJTC:




Police Training: Criminal Procedures
The 1968 US Supreme Court decision Terry v Ohio24 and other similar cases are used at the police
academies throughout the nation to help establish foundational training and policy
considerations related to the seizure and detention/arrests of citizens pursuant to a criminal
investigation.

At the WSCJTC, police recruits are given the following definition of criminal procedures:
       Criminal Procedures:
       A network of laws and rules that establish the standards and limitations to be
       employed by the government and its agents. It addresses a variety of issues to



22
   WSCJTC BLEA, Criminal Investigations, Search Warrant Preparation, 2017-2021
23
   WSCJTC BLEA, Criminal Investigations, Report Writing, 2017-2021
24
   Terry v. Ohio :: 392 U.S. 1 (1968)
                                                                                 HICKS CONSULTING- LLC   20



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         include search and seizure, powers of arrest, interrogation, prosecutorial
         limitations, as well as bail and sentencing.25

Police Training: Reasonable Suspicion/Probable Cause
As part of their foundational academy training, police recruits are given classroom training,
practical training, and scenario testing in making investigative detentions (Terry stops) and
probable cause arrests.

Police officers are taught that the most important aspect of conducting reasonable suspicion
stops and probable cause arrests is that officers must have articulable facts and circumstances
and reasonably trustworthy information that would lead a reasonable officer to believe that they
have met the appropriate burden to make the respective stop or arrest.

Police Training: Proper Analysis of Informant’s Information
In order to make lawful detentions and arrests, another foundational point of instruction for
police recruits is how to analyze information they receive from informants/citizens. Although
case law varies slightly from state to state, police officers receive training that the information
they receive must have sufficient indicia of reliability. Generally, officers are taught that under a
totality of circumstances, there must be articulable facts and circumstances establishing the
reliability of the information and the reliability of the informant. Officers are taught that they can
bolster the veracity of the information by establishing independent corroboration through the
officer’s observations.26

Applicable Coquille PD Policy: Chapter 344 Report Preparation
Section 344.11 of the Coquille PD policy manual states that:27

         “All reports shall accurately reflect the identity of the persons involved; all
         pertinent information seen, heard, or assimilated by any other sense, and any
         actions taken. Employees shall not repress, conceal, or distort facts of any
         reported incident, nor shall any employee make a false report orally or in writing.”

Applicable Coquille PD Policy: Conduct That May Result in Discipline
Section 340.35 of the Coquille PD policy relates to officer discipline. Section 340.35 states
that:28
        (P) Failure to disclose material facts or the making of any false or misleading
        statement on any application, examination form or other official document,
        report, or form.



25
   WSCJTC, BLEA, Criminal Procedures, Introduction to Criminal Procedures PowerPoint, 2007-2021
26
   Aguilar, 378 U.S. at 114; Spinelli, 393 U.S. at 413, Illinois v. Gates :: 462 U.S. 213 (1983), Navarette v. California ::
572 U.S. 393 (2014)
27
   2007 Coquille Police Manual, Chapter 344.11, Report Preparation
28
   Id, Chapter 340.35, sections P, Q
                                                                                        HICKS CONSULTING- LLC           21



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        (Q) Failure to take reasonable action while on-duty and when required by law,
        statute, resolution or approved Department practices or procedures

The evidence in this case shows that the investigative team made inconsistent or misleading
statements to bolster unsupported theories that would incriminate McGuffin, contrary to
standard police practices and agency protocols. Many of the unsupported theories appear to
have been the creation of Richard Walter from the Vidocq Society and Coquille Police
Department Chief Mark Dannels.29 The investigative team also failed to properly assess the
information reported by providing articulable facts and circumstances establishing the reliability
of the information and the reliability of the informant, contrary to standard police practices. I
address some of these issues below.

     1. False reports of blood on Freeman’s right shoe




ABC’s 20/20 Leah Freeman homicide, October 2010. Chief Mark Dannels of Coquille Police Department is featured.

In January of 2010, Coquille PD Chief Mark Dannels sought assistance from the Vidocq Society, a
group of self-described “expert investigators” and “confidential consultants,” to assist with
developing a theory of the crime and a theory of motive to implicate McGuffin. In his deposition
on July 15, 2022, Dannels stated that the extent of him “vetting” the Vidocq Society was limited
to looking at the Vidocq Society website.30

The investigative team then worked with producers of the ABC News “20/20” program who
interviewed the team and filmed McGuffin’s arrest. The episode featured Chief Dannels, the
Oregon State Police crime lab, the Vidocq Society, and Richard Walter. The show aired nationally
prior to McGuffin’s criminal trial.31



29
   2010-2011 Vidocq Synopsis of Freeman Case
30
   Deposition of Mark Dannels, July 15, 2022, page 309, lines 12-22
31
   2010-10-15 Transcript of ABC News “20/20”
                                                                              HICKS CONSULTING- LLC       22



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Members of the team made inconsistent statements on the show. The homicide investigative
team speculated that McGuffin caught up to Freeman at the cemetery by the high school, got in
an argument, hit her in the face, bloodied her lip or nose, and then killed her in that location. In
an apparent effort to support their theory, Chief Dannels32 and the investigative team made the
false statement that blood was found on Freeman’s right shoe. However, OSP Criminalist Kathy
Wilcox examined the right shoe and reported that “no blood was detected on this shoe.”33

Vidocq co-founder Richard Walter along with other members of the investigative team in this
case repeated the inconsistent statement that blood evidence on Freeman’s right shoe was
evidence that she was punched in the face. Chief Dannels stated on ABC News “20/20” that the
(first) shoe was found “with blood on it,” and Walter reported that the blood indicated that
Freeman “was forcibly taken from that point” where “she got probably smashed in the face.”34

Vidocq Society documented Walter’s unsupported profile and statements in an internal
memorandum, which was never disclosed in discovery in the criminal case.35

District Attorney Frasier repeated the unsupported theory of the crime in his closing argument
during the murder trial when he stated, “He finds her by the high school. He tries to get her into
the car. She loses a shoe. She ends up with a bloody lip or a bloody nose.” 36

Later, in a letter to the Oregon Department of Justice, District Attorney Frasier stated that he
warned 20/20 that “it appeared that Mr. Walter was a fraud” and that Frasier’s opinion was that
20/20 should not rely upon Walter.37

The statements made by Chief Dannels, Walter, and other investigators that were featured in the
“20/20” episode” were not based on evidence. The information presented to a national television
audience before the murder trial was not consistent with training that officers must have
articulable facts and circumstances and reasonably trustworthy information that would lead a
reasonable officer to believe they have met the appropriate burden to make the respective
stop/arrest. The statements made by the investigative team also fell below the standard that
requires officers to avoid making any inconsistent statements orally or in writing.

Furthermore, Walter’s statement that the blood on the first shoe found indicated that Freeman
“was forcibly taken from that point” and where “she got probably smashed in the face” is
perplexing. As a 30-year law enforcement officer, police academy trainer, and certified homicide
investigator, I have never seen a theory like this repeatedly espoused when no reliable evidence



32
   ABC’s 20/20, October 2010 transcript, Leah Freeman Homicide
33
   2000-07-17 OSP Lab Report.
34
   ABC’s 20/20, October 2010 transcript, Leah Freeman Homicide
35
   Deposition of Robert Paul Frasier, August 29, 2023, Page 118, Lines 6-25
36
   2011 Criminal Trial Transcript at D9 156:3–7
37
   August 10, 2016, Letter to Mr. Paul E. Reim, Oregon Department of Justice
                                                                               HICKS CONSULTING- LLC   23



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supports it. This statement made by Walter appears to be consistent with his history of
misconduct as recognized by court admonishments.38

Standard police practices that existed at the time would have required the investigative team to
accurately report the facts and refrain from offering inconsistent, distorted, or misleading
statements orally or in writing.

The fact that Chief Dannels was involved in the inaccurate reporting is particularly troubling. Chief
Dannels was in a position of authority. An investigative team such as the one involved in the
Freeman investigation takes its cues from its leader. By making statements that are unsupported
by evidence, a law enforcement supervisor conveys to his subordinates that such practices are
not only acceptable, but encouraged. This represents a gross departure from the supervisory role
of a police chief.

     2. False report that McGuffin destroyed evidence

The investigative team in this case also created an unsupported theory that McGuffin transported
Freeman’s body in his car and then wiped it clean to destroy any blood evidence.

In 2010, Coquille PD Chief Mark Dannels appeared on “20/20” and stated that McGuffin’s
Mustang had been “cleaned and wiped,” and later represented that he had been told that the
trunk had been “sterilized.”39 However, OSP Criminalist Kathy Wilcox examined the Mustang and
reported that “the interior surfaces did not appear to have been recently wiped clean” and the
trunk compartment was only “empty.”40

According to 2011 trial documents, Wilcox testified that the seats of the Mustang had been
“wiped clean.”41 However, handwritten notes from an internal meeting involving Wilcox and
other detectives of the investigative team, which were produced to McGuffin for the first time in
the current civil proceedings, reveal that Wilcox initially explained to the other members of
investigative team that the vehicle was clean, but had not been “wiped.”42 Wilcox’s photographs
confirmed this fact.

Again, the statements made by Chief Dannels and other investigators were not based on
evidence. The statements were not consistent with training that officers must have articulable
facts and circumstances and reasonably trustworthy information. The statements, further,
represent a significant departure from standard police practices that existed at the time that
required the investigative team to accurately report the facts and refrain from offering
inconsistent, distorted, or misleading statements orally or in writing.


38
   August 10, 2016, Letter to Mr. Paul E. Reim, Oregon Department of Justice
39
   ABC’s 20/20, October 2010 transcript, Leah Freeman Homicide
40
   2000-07-06 OSP Lab Report.
41
   2011 Criminal Trial Transcript at D6 81:12–13.
42
   2000-07-06 Wilcox Handwritten Notes from Homicide Investigation Team (“HIT”) Meeting.
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And again, Chief Dannels’ involvement in reporting statements without any factual basis bolsters
my opinion that Coquille Police Department leadership created a culture in which officers were
permitted or even encouraged to make inaccurate statements to support the investigation and
prosecution of McGuffin.

     3. Reliance on David Breakfield

The investigative team developed the unsupported theory that McGuffin allegedly confessed to
David Breakfield. Breakfield dated McGuffin’s on-again-off-again girlfriend, Maegan Edgerton
(now Traglio), while they were in high school. Breakfield testified at the 2010 criminal trial that
he was dating Edgerton after she had recently broken up with McGuffin sometime in 2002.
Breakfield testified that McGuffin threatened Breakfield by telling him “I strangled that bitch and
I’ll strangle you, too.”43

Breakfield stated on cross-examination that he did not share with anyone that McGuffin had
allegedly made a confession for a full eight years before McGuffin was indicted.44

Edgerton testified at her deposition in this case that Breakfield called her after he spoke with
police. Breakfield told Edgerton that the police heard a rumor that McGuffin tried to run
Breakfield off the road. Edgerton stated that Breakfield told her that the Coquille PD wanted him
to say that he was run off the road by McGuffin.45

According to Edgerton, Breakfield told police that the rumor was false and the incident never
occurred. Edgerton also testified in this case that Breakfield told her that the supposed threats
were a joke.

McGuffin has always maintained that these threats did not occur. Breakfield’s relationship with
Edgerton and his 8-year silence of an alleged threat made by McGuffin is not consistent police
training that under a totality of circumstances, there must be articulable circumstances
establishing the reliability of the information and the reliability of the informant. Breakfield knew
the Coquille Police Department had believed that McGuffin was a suspect in the death of
Freeman. However, according to Breakfield, he chose not to say a single word about the alleged
threat to anyone for 8-years. Standard police practices would have required that the officers
further investigate the reliability of Breakfield and his statements to prevent one-sided reporting
that may be inaccurate.

In addition, Coquille Police Officer McNeely testified in this matter that he remembers thinking
during McGuffin’s trial that the defense attorney could have got that out of Breakfield at trial.46

43
    2011 Breakfield Trial Testimony
44
   Id.
45
   2023 Edgerton (Traglio) Deposition Testimony re Breakfield
46
   McNeely deposition transcript, page 115, lines 4-13.
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However, McNeely and other members of the investigative team never disclosed this material
fact during the trial. The failure to disclose this material fact in a homicide investigation is a
significant departure from Brady training and Coquille Police procedures.

     4. Reliance on “psychics”

In 2000, it appears that the investigative team contacted “technical remote viewers” (i.e.,
psychics), at least one of whom encouraged investigators to continue the pursuit of McGuffin.47

The use of psychics is not accepted in the law enforcement profession as a reliable method of
solving any crime, especially homicide. Any information received from a “psychic” is certainly not
consistent with police training that “under a totality of circumstances, there must be articulable
circumstances establishing the reliability of the information and the reliability of the informant.”

An officer adhering to standards and training would not involve a psychic in a homicide
investigation, and the fact that any psychic appears in the case file for the Freeman investigation
is a significant departure from standard police practices.

     5. Investigation by elimination

Coquille PD Chief Dannels and Vidocq Society co-founder Richard Walter presented their
unsupported theory of the crime and motive to the Coos County District Attorney who in turn
sought the indictment of McGuffin. Chief Dannels explained to the grand jury that, through the
collective efforts of law enforcement and their experts, and despite the absence of any tangible
evidence implicating McGuffin, they were able to eliminate all potential suspects except one:
McGuffin.48

In this civil case, Sheriff Zanni revealed that as a member of the Freeman Task Force he did not
believe there was probable cause to bring the murder case against McGuffin to the grand jury.
Sheriff Zanni explained:49

     •   Lauersdorf: “Did you recommend or suggest to anyone at any time between 2000 and
         2007 that the case be submitted to the Coos County District Attorney's Office for
         presentation to grand jury?”

     •   Zanni: “Not that I recall.”

     •   Lauersdorf: “Why not?”




47
   Criminal Case Bates Nos. 004667–4685.
48
   Transcript of Mark Dannels’ grand jury testimony, page 134, lines 1-8
49
   Deposition of Craig Zanni, December 17, 2021, page 214-215
                                                                              HICKS CONSULTING- LLC   26



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   •   Zanni: “I didn't believe there was enough information at that time to bring it to the district
       attorney.”

   •   Lauersdorf: “What information did you think was still lacking?”

   •   Zanni: “Lots of information. DNA information documentation of all of the information we
       had. From my position, working on the -- not being the case officer directly involved with
       Coquille Police Department, I don't know all of the information they had, but I wasn't
       aware of enough being put together to present to the grand jury.”

Later in the deposition, Sheriff Zanni explained that during the time when the case was dormant
to the time Chief Dannels took over and formed the new task force, he was not aware of any new
evidence being discovered in the case.

   •   Lauersdorf: “Okay.· So were you aware or did Chief Dannels mention any new evidence
       being uncovered during the time that you were retired?”

   •   Zanni: “Not that I recall.”

Standard police practices require that officers develop evidence to support a stop and an arrest.
Investigative officers are not permitted to encourage a prosecution based on the absence of
evidence. Officers must have articulable facts and circumstances based on reasonably
trustworthy information.

Standard police practices that existed at the time would have required the investigative team to
provide articulable facts and circumstances based on reasonably trustworthy information. The
fact that the investigative team encouraged a prosecution based on their inability to eliminate
McGuffin, rather than articulable facts and circumstances, and in combination with the
inconsistent reports discussed above, is a significant departure from standard police practices.




       Section D: Policies Inconsistent with Established
                    Disclosure Obligations
Opinion:

The Coos County Sheriff’s Office and the Vidocq Society had official policies that did not comply
with established disclosure obligations. These policies allowed task force members to withhold
favorable information prior to and after the arrest, trial, and conviction of McGuffin. This failure
contributed to the arrest, prosecution, imprisonment, and conviction of McGuffin. The policies
were inconsistent with generally accepted police practices and procedures.

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Basis:

Coos County Sheriff’s Office Policy
Chapter 16 of the Coos County Policy Manual provides guidelines for Coos County Deputies for
Reports and Records. 16.01.01 Reports states:

         Reports constitute the information system of the Sheriff’s Office. They document
         the case against offenders as well as the actions taken by the Sheriff’s Office,
         inform the Sheriff’s Office of existing crime problems, and protect the investigating
         deputy and the Sheriff’s Office against unwarranted allegations of improper
         action.




The above statement in the Coos County Sheriff’s Policy Manual states that reports document
the case “against offenders.” This statement fails to direct all employees that reports are written
to objectively document and report all exculpatory and inculpatory information.

The IACP Model Policy titled Brady Disclosure Requirements, quoted above, provides an example
of an appropriate policy statement that incorporates the established rules concerning what
police understood, and were trained on, concerning disclosure obligations.

The report writing policy of the Coos County Policy Manual (at the time) was inconsistent with
training/standards, with law enforcement training principles, general police practices, police
policies, and procedures. This deficient policy allowed officers from the Coos County Sheriff’s
Office to withhold favorable information, such as the Nick Backman report and ATM receipt,
discussed above.

Vidocq Society Policy
On page one of the Vidocq’s Society Code of Ethics (2014), the organization states that it “takes
pride in its professionalism and assures law enforcement agencies that the confidential details




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about their matters remain confidential.”50 The Code of Ethics also requires Vidocq Society
members to keep all information confidential:




Vidocq’s website (2024) also confirms their commitment to confidentiality, “The Vidocq Society’s
assistance to law enforcement necessarily involves the review and analysis of case materials such
as reports, statements, and physical evidence. The confidentiality and security of these materials
are of paramount importance.”51

The above statements in the Vidocq Code of Ethics fail to direct all members involved in law
enforcement investigations or consulting with law enforcement to objectively document and
disclose all exculpatory and inculpatory information.

Standard police practices at the time in 2010 did not allow law enforcement officers to develop
investigatory information through an outside consultant and then hide that information. An
officer who was properly trained in police work would not believe that officers could avoid their
disclosure obligations by developing leads through an outside consultant. A police officer who
was properly trained and adhering to established standards would know that there is no greater
duty of an officer than to provide any and all information developed in a criminal investigation
to the prosecutor, regardless of whether the information could assist the accused and regardless


50
     The Vidocq’s Society Code of Ethics & Conduct, page 1, 2014
51
     https://www.vidocq.org/#confidentiality
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of whether the information was developed from within the agency or by consulting with outside
assistance.

The confidentiality policy of the Vidocq Society was inconsistent with established disclosure
training/standards, with law enforcement training principles, general police practices, police
policies, and procedures. The deficient policy allowed members from the Vidocq Society to
partner with the Coquille Police Department to withhold favorable information, such as the
Vidocq internal memorandum discussed above.52


                Section E: Failure to Secure Crime Scenes
Opinion:

Investigators from the Coquille Police Department and Coos County Sheriff’s Office failed to
adhere to generally accepted police practices and protocols on crime scene investigation and
evidence handling that contributed to the arrest, prosecution, conviction, and imprisonment of
McGuffin.

Basis:

Police Training: Securing the Crime Scene
Basic law enforcement standards that are taught to police recruits at the academy require the
following when evidence is found:

     1. The area is now a crime scene. A missing person/homicide crime scene needs to be
        cordoned off and protected.
     2. The detective/supervisor should organize the crime scene search to collect as much
        physical evidence as possible. In addition the search must be based on constitutionally
        legal grounds, and the evidence collected must be properly documented and handled so
        that it may be presented in court later. It is imperative that of each piece of physical
        evidence be treated separately and carefully to avoid cross-contamination.”53
     3. “Homicide and sexually assault crime scenes usually contain an abundance of
        physical or trace evidence. The systematic search for, collection of, and preservation
        of physical evidence is the goal of the crime scene search.” 54
     4. “No evidentiary item is to be moved until it is marked, photographed and sketched”55




52
   Deposition of Robert Paul Frasier, August 29, 2023, Page 118, Lines 6-25
53
   Practical Homicide Investigation- Tactics, Procedures, and Forensic Techniques (fourth edition by Vernon J.
Gerberth: Chapter 8, page 175
54
   Id.
55
   WSCJTC BLEA Crime Scene Management PowerPoint 2014
                                                                                  HICKS CONSULTING- LLC          30



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     5. NYPD Lt. Commander (Ret.) Vernon J. Geberth put it best, “Remember, do it right the first
        time. You only get one chance.”56

Police Training: Crime Scene Procedures and Evidence Handling
At the WSCJTC’s Basic Law Enforcement Academy (BLEA), and in police academies in the Pacific
Northwest, police recruits are taught basic crime scene investigation.57 Recruits are given
classroom and practical instruction on basic crime scene procedures. The three priorities for
crime scene investigation are the following:

     •   Make the scene safe

     •   Render medical aid

     •   Manage the crime scene

Police recruits are given instructions on the critical nature of protecting the crime scene and
collecting all items of potential evidentiary value. Specifically, recruits are taught the “Golden
Rule” of crime scenes:

     •   “No evidentiary item is to be moved until it is marked, photographed and sketched”

Police recruits are also taught to wear and change gloves frequently when handling items of
potential evidence to avoid cross contamination. In a homicide investigation such as this, the
inadequate handling of evidence likely altered the integrity of the evidence.

As an instructor at the WSCJTC, I set up crime scenes at the police academy to assist recruits for
the practical portion of the introductory crime scene investigation class. During these practical
exercises I would place obvious evidence in plain sight for the recruits to identify, protect, take
notes, photograph, sketch and seize. These practical exercises were instrumental in the
development of these police recruits in their quest to become new police officers.

Applicable Coos County Sheriff’s Office Policy: Evidence
The Coos County Sheriff’s Office policies at the time stated the following58:




56
   Practical Homicide Investigation- Tactics, Procedures, and Forensic Techniques (fourth edition by Vernon J.
Gerberth
57
   WSCJTC BLEA Crime Scene Management PowerPoint 2014-2017
58
   Coos County Sheriff’s Office Policies, Revised 03/30/94
                                                                                  HICKS CONSULTING- LLC          31



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Applicable Coos County Sheriff’s Office Policy: Supervision
The Coos County Sheriff’s Office policies at the time stated the following59:




59
  Coos County Sheriff’s Office Policy Manual, Chapter 4: Jurisdiction, Organization, and Command Structure,
revised 1994; Coos County Sheriff’s General Order, Internal Investigations, Policy: G.O. 2.07
                                                                                HICKS CONSULTING- LLC         32



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I discuss some of the failures by the investigative team below.

     1. Deputy Oswald and Officer Hall failed to secure and process the scene on Hudson Ridge

On July 5th, 2000, Deputy Kip Oswald on his own accord conducted a search of the Hudson Ridge
area to specifically find “something” related to Freeman’s disappearance.60 During this search for
evidence, Oswald allegedly found Freeman’s shoe in the middle of the road on Hudson Ridge.

Oswald, a patrol corporal, failed in the following ways:
   • Oswald did not notify anyone that he was going to Hudson Ridge, that he arrived and that
      he had found a major item of evidence in a missing person/homicide case.
   • Oswald did not secure the crime scene and call for additional units to search, photograph,
      and collect evidence.

Officer Hall reported that Oswald approached Hall while he was at the roadblock on July 5 and
showed Hall the shoe found on Hudson Ridge. This happened sometime between 9-10:15 p.m.,
just after Oswald found the shoe. Hall failed to immediately proceed to the scene to protect the
area and conduct an organized and methodical crime scene search, including by processing the
scene with video and photos.

Because these are basic, academy-level crime scene processing protocols, the failure to adhere
to accepted police practices is egregious. In normal police practices, an officer who found
evidence potentially related to a missing child/possible abduction or homicide would
immediately notify command, secure the crime scene, and await further instructions to process
the scene. A lead officer who was notified of a potential crime scene should immediately dispatch
officers to the scene to protect the area and search for additional evidence, possibly even the
missing person. The failure to take these basic steps represents a significant mismanagement of
the investigation and resulted in the destruction of key evidence as discussed below.

     2. Oswald contaminated, destroyed, and withheld key evidence

The following are facts from Oswald’s deposition regarding his finding and handling of the
victim’s shoe and other evidence on July 5th, 2000, and subsequent dates.

July 5, 2000
    • Oswald decided to search for Freeman on his own.61
    • Oswald did not notify dispatch that he was conducting the search.62
    • Oswald had gloves in his vehicle at the time.63


60
   Deposition of Kip D. Oswald, December 22, 2021, page 129
61
   Deposition of Kip D. Oswald, December 22, 2021, page 119-120
62
   Id., page 121
63
   Id., page 125
                                                                          HICKS CONSULTING- LLC   33



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     •   Oswald specifically went out to the Hudson Ridge area to find “something” related to
         Freeman.64
     •   Oswald didn’t check with the official search team to see where they had previously
         searched to coordinate.65
     •   Oswald found Freeman’s shoe in the middle of the road on Hudson Ridge.66
     •   Oswald stated he “unfortunately” picked the shoe up without gloves.67
     •   Oswald stated, “I thought this was really strange because it's a newer shoe. And then I
         thought of the case that they were doing, and I thought, well, there's that possibility. So I
         put it into a bag, and I put it into my vehicle.”68
     •   Oswald stated he also collected cigarette butts, papers, cans, and a piece of string but
         used a glove when handling those items. Oswald stated he put these items in the same
         bag.69
     •   Specifically, Oswald stated the cigarette butts and the other items were found within 20
         feet of the shoe.70
     •   After finding Freeman’s shoe and collecting the other items, Oswald stated he drove up
         to the roadblock and asked an FBI agent and a Coquille Officer about the shoes Freeman
         was wearing when she went missing.71
     •   Officer Hall confirmed that on July 5th, 2000, while working the roadblock at N. Central
         and the credit union, Oswald approached him and stated he found a shoe that possibly
         belonged to Freeman.72
     •   In his deposition, Oswald was confronted with the fact that Anthony Messerle testified
         that Oswald showed Messerle the shoe Oswald found. Oswald stated that he “didn’t
         remember [that encounter].”73
     •   Oswald stated that he subsequently turned in the above items into evidence74 and
         authored a report.75
     •   It is important to note there is no official documentation that Oswald turned in cigarette
         butts, papers, cans, and a piece of string.
     •   Oswald stated that after he collected Freeman’s shoe he doesn’t remember if he notified
         dispatch or if he asked for officers to respond to the scene.76




64
   Deposition of Kip D. Oswald, December 22, 2021, page 129
65
   Id.
66
   Id., page 143
67
   Id.
68
   Id., page 146
69
   Id., page 157
70
   Id., page 156
71
   Id., page 146
72
   Coquille Police Department, Supplemental Report, #00001905, written by David E. Hall
73
   Deposition of Kip D. Oswald, December 22, 2021, page 166
74
   Id., page 147
75
   Id., page 154
76
   Id., page 159
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     •   Oswald stated that “I believe it was the next day and they did a search of the whole ridge
         in that day.”77
     •   There is no documentation of any search by the task force the next day.
     •   Oswald stated that the only one who talked to Oswald about his mishandling of the
         central item of evidence in this case [shoe] was Sheriff Zanni. Oswald reported that Zanni
         stated, “This is a lesson learned, you know.”78




     July 7, 2000
     • Oswald testified that on July 7th, 2000, he went back to Hudson Ridge to search again on
         his own. Oswald stated that he found a receipt and saw a set of tire tracks to a standard
         car.79 Oswald took the receipt as evidence because he believed it could be connected to
         the suspect.80 Oswald stated that he did not make a radio call that he had found anything
         and did not call for assistance. Oswald stated he did not take any photos or tire
         impressions.81
     • Oswald stated that he authored a report of the July 7th findings, however no report was
         ever found.82



77
   Id., page 153
78
   Id., page 208
79
   Id., page 178-183
80
   Id., page 178
81
   Id., page 184
82
   Id., page 188
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     July 8, 2000, Task Force Search
     • On July 8th, 2000, the task force, along with two cadaver dogs searched the Hudson Ridge
         area, powerline access road, and the wooded hillside at the west end of town. Nothing
         was found.83

     August 21, 2000
     • Oswald stated that on August 21st, 2000, he went back up to Hudson Ridge. Again, Oswald
        stated that he went on his own, didn’t tell anyone that he went up there. Oswald stated
        that he found an illegal garbage dump.84

     August 22, 2000
     • Oswald stated that on August 22nd, 2000, he again went back to Hudson Ridge on his own
        accord. Oswald stated this time he found duct tape, a couple of .22 cartridge casings, and
        three napkins or towelettes.85 Oswald stated that he believed these items were 15%
        percent related to Freeman’s homicide. Oswald used gloves and took photos this time.86
     • When asked why he took photos and used gloves on this visit to Hudson Ridge, Oswald
        answered, “I realized that the shoe belonged to Leah Freeman, and if there was any other
        evidence up there, I didn't want to taint it, and I didn't want to screw up again.”87


From a police practices perspective, as a retired 30-year law enforcement officer and former
police academy official, it is important to express how unusual and suspect Oswald’s official
explanation is regarding the facts and circumstances surrounding his finding of one of the central
pieces of evidence in this case: Freeman’s shoe.

On July 5th, 2000, Oswald was a Corporal in the Coos County Sheriff’s Office with 20 years of law
enforcement experience. Oswald was trained and had experience in the proper handling and
documentation of evidence.88 On this day he went to Hudson Ridge on his own with the intention
of finding “something” related to Freeman.89

Oswald alleged that he found a “newer shoe” in the middle of the road on Hudson Ridge and
realized it was likely Freeman’s shoe. Oswald handled the shoe without gloves and without taking
photos first. Oswald testified that he found other evidence on July 5th and more on subsequent
days but used gloves during these evidence findings. Oswald later explains his gross mishandling
of this critical evidence as a simple mistake.90


83
   North Bend Police Department, Supplemental Report, Case No: 20011114, Written by Lt. Bud Young, page 9
84
   Deposition of Kip D. Oswald, December 22, 2021, page 192
85
   Id., page 201
86
   Id., page 203
87
   Id., page 207
88
   In his deposition Sheriff Zanni was asked “What instructions did you give him [Oswald] about collecting the shoe
and preserving it as evidence? Zanni answered, “I didn't give him instructions on that. He was a trained deputy.”
89
   Deposition of Kip D. Oswald, December 22, 2021, page 129
90
   Id., page 226, line 7
                                                                                 HICKS CONSULTING- LLC         36



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Oswald never communicated with the task force that he was conducting these searches, never
told dispatch that he was going to Hudson Ridge, and never notified dispatch of his alleged
findings on Hudson Ridge.

All of these actions significantly—and egregiously—deviate from generally accepted police
training principles, contemporary police tactics, police practices, policies, and procedures.
Normal police practices would have required that an officer discovering critical evidence
photograph the evidence in place, collect the evidence using gloves to avoid contamination or
the loss of critical information, and immediately transport the evidence to the evidence locker.
The fact that Oswald stopped and showed the evidence to a witness at the Fast Mart is
inexplicable and inexcusable.

I have criticized Oswald’s actions but even assuming one were to accept Oswald’s testimony
about his finding of the shoe, his subsequent actions should have triggered significant
ramifications and supervisory actions. I discuss the lack of supervision below.

It is also important to note there is no official documentation that Oswald turned in cigarette
butts, papers, cans, and a piece of string found on July 5th. This evidence was critical because it
was found so close to Freeman’s shoe. These alleged cigarette butts would undoubtedly contain
some measure of DNA that could have been compared to the DNA on the shoe. But yet, the
report and evidence have not been turned over.

If the jury were to credit Oswald’s testimony about finding these items, then it would be highly
unlikely, following standard police practices, that there would not be some documentation of
this evidence in a report, evidence log, or evidence tags. Because no such documentation has
been turned over, there are three obvious possibilities: the evidence and documentation were
destroyed; they were withheld; or Oswald never found or collected the items and falsely stated
that he did. All three possibilities represent a significant departure from standard police
practices.

   3. Zanni failed to supervise Oswald

Below is Oswald’s background of termination from service:

   •   Hillsboro Police Department 1977-1980: Resigned in Lieu of Termination for Criminal
       Conduct
       Oswald testified that he was fired from the Hillsboro Police Department in 1980. Oswald
       stated that in addition to having “problems in his home life” that he was involved in
       criminal conduct. Oswald stated that while driving off-duty in the City of Hillsborough, a
       Hillsborough Police Sgt. attempted a pull over Oswald on a traffic stop. Oswald explained
       that he refused to pull over, eluded the pursuing Sgt., and escaped. Oswald stated he



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           came in the next day, met with the Chief, and confessed that he fled from the traffic stop.
           Oswald stated he resigned in lieu of termination.91

       •   Coos County Sheriff’s Office 1983-2006: Suspect in a homicide, Retired.
           Oswald stated that he retired from the Coos County Sheriff’s Office with the rank of Sgt.
           During his tenure as a Coos County Deputy, Oswald was a suspect in the murder of Leah
           Freeman.92

       •   North Bend Police Department 2007-2012: Resigned in Lieu of Termination for Criminal
           Conduct
           Oswald testified that North Bend Police officials believed that Oswald had forged a
           doctor’s note relating to medical leave. Oswald explained that he was told by the chief
           and the captain that if he didn’t resign they would have Oswald charged with the crime
           of forgery. Oswald also stated that his commission was revoked through the State of
           Oregon. It appears Oswald was added to the Coos County Brady list because of the alleged
           forgery.93

Oswald testified in his deposition that he was not asked to assist in the Coquille Task Force on
the Freeman investigation but did so anyway. When Oswald began his own investigation, he did
not notify, coordinate, or communicate his findings at the appropriate time and manner.

Oswald found additional evidence (i.e., cigarette butts) that would undoubtedly contain a
presence of DNA, but this evidence and report was never turned over.

Oswald repeatedly searched for evidence on Hudson Ridge, but he did not notify, coordinate, or
communicate his findings at the appropriate time and manner.

Oswald stated that the only one who talked to him [Oswald] about his mishandling of the central
item of evidence in this homicide case [shoe] was Deputy Sheriff Zanni. Oswald reported that
Zanni stated, “This is a lesson learned, you know.”94

The Coquille PD Task Force was the official governmental unit comprised of designated law
enforcement officers operating under a single point of command to investigate the initial
disappearance and subsequent murder of Freeman.

The task force objective was to work collaboratively as a team with the goal of sharing
information within the task force95 pursuant to the collection and analysis of evidence,
conducting coordinated investigative activities, and interviewing witnesses and suspects. The

91
   Deposition of Kip D. Oswald, December 22, 2021, page 37
92
   Id., page 206
93
   Id., page 52
94
   Deposition of Kip D. Oswald, December 22, 2021, page 208
95
   Sheriff Zanni’s testified in his deposition that information was not to be shared outside of the task force. Page
111.

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task force was also responsible for preparing and maintaining evidence records, reports,
interviews, and all manner of investigative work product in collaboration with the district
attorney.

In my opinion, Oswald’s actions in this case are best described as rogue. Oswald was not assigned
to the missing person/homicide task force. Oswald did not notify, coordinate, or communicate
his search for evidence in this case. Additionally, Oswald did not follow basic police academy
evidence handling protocols.

Oswald testified that he collected critical evidence (cigarette butts) that is now missing and there
is no record that it was processed at the crime lab. And finally the Coquille Police Task Force
believed Oswald’s actions were so suspicious that at one point they considered Oswald a suspect
in the murder of Leah Freeman.96 Oswald stated that he took a polygraph and allegedly passed.
It is important to note that the data and results of this polygraph apparently were not retained
and now does not exist.
Oswald’s actions were contrary to the coordinated goals and objectives of the designated task
force. His actions call into question his supervision and training.

Law enforcement agencies throughout the country recognize the vital importance of properly
supervising members. Without supervision to properly guide, remediate, or discipline an officer,
an officer may behave in a manner that is inconsistent with generally accepted police practices
and procedures. This can have detrimental effects on the department and the public.

It appears that Oswald’s supervision was non-existent. Oswald repeatedly inserted himself into
the homicide investigation and was not given any admonishments or direction regarding his
repeated rogue actions. This type of activity by a department encourages the same or similar
conduct moving forward. And that is exactly what happened in this case. Oswald’s continued
rogue behavior was so out of line with standard police practices that it resulted in his designation
as a murder suspect in Leah Freeman’s death.97

Furthermore, there is no documentation (or that has been disclosed) from the Coos County
Sheriff’s Office that there was any internal inquiry into one of their deputies being designated as
a murder suspect. In his deposition, Sheriff Zanni confirmed that he did not follow up with Oswald
regarding the polygraph.98

The lack of supervision for Oswald was far below the standard of care for any investigation but
especially a homicide. Coos County Sheriff’s Office dereliction of supervision with Oswald likely
affected the direction of the homicide investigation that led to the arrest and prosecution of
McGuffin.

96
   Id., page 206
97
   Deposition of Kip D. Oswald, December 22, 2021, page 206
98
   Deposition of Craig Zanni, December 17, 2021, page 207
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This lack of supervision was a gross deviation from law enforcement supervisory standards,
training principles, practices, policies, and procedures.

      4. Video of crime scene went missing; never given to prosecutor and HIT team note never
         turned over to McGuffin’s criminal defense team

Officers found the body of Freeman on August 3, 2000, and Lt. Pex a criminalist from Oregon
State Police crime lab, dictated a report saying that he took video at the crime scene.99

Coquille PD Officer Hall and Coos County Deputy Sheriff Zanni logged the videotape into evidence
on August 7, 2000.100

The evidence log shows the tape was released to the case officer (Hall) on March 22, 2001, and
there is a property receipt showing it was Hall that requested it.101

Hall requested the tape for Coos County Deputy Medical Examiner Kris Karcher, however the
video tape evidence of the scene is now missing. DA Frasier testified in his post-conviction
deposition that he didn’t even know there was a crime scene tape.102

The relevance of the tape is critical because Karcher testified at McGuffin’s criminal trial that they
could tell from the crime scene that someone stood by the road and looked down at the body,
and from other testimony the inference was that it was McGuffin.

It is also important to note that the HIT team never disclosed in the criminal case a note showing
that the officers knew that the vegetation by the road was not broken down.103

A video of the crime scene would likely have showed the condition of the area by the body. The
HIT Team note, combined with the videotape of the crime scene, would have been important to
preserve and disclose.

Coquille PD did not disclose the note and Hall did not keep the videotape secure or make sure it
was returned to evidence after he checked it out for Karcher.

The failure to disclose the HIT team note was not consistent standardized basic training that
requires all police officers to document and turn over all evidence obtained to the prosecutor.




99
   2000-08-03 Pex Dictated Notes from Scene
100
    2000-08-07 Evidence Log – scene tape” at page 1 (first row Evidence No. 224)
101
    2001-03-21 Property Request
102
    Deposition of Robert Paul Frasier, May 31, 2019, Page 122, Lines 13-21
103
    2009-10-13 HIT Team Notes at page 7 (“vegetation not broken down by road”)
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The disappearance of the video of the crime scene represents a significant mismanagement of
the investigation and resulted in key piece of evidence that was not turned over to the district
attorney’s office and to Mr. McGuffin’s criminal defense team.

As documented in this report, this missing video of the crime scene was not an anomaly. It is a
pattern of mismanagement or malfeasance in the criminal investigation and subsequent
prosecution of Mr. McGuffin.



      Section F: Lack of Training on Homicide Investigation
Opinion:

The Coquille Police Department failed to properly train members of the police department in
various homicide investigation practices and procedures that contributed to the arrest,
prosecution, conviction, and imprisonment of McGuffin. A police department’s failure to
adequately train its members is inconsistent with generally accepted police practices and
procedures.

Basis:

Across the nation and especially here in the Pacific Northwest, generally accepted standards
require that homicide investigators have significant experience as a law enforcement officer and
specialized training for homicide investigations.

Police Training: Commission on Accreditation for Law Enforcement Agencies
The Commission on Accreditation for Law Enforcement Agencies, Inc. (CALEA) was created in
1979 as a credentialing authority through the joint efforts of the International Association of
Chiefs of Police, the National Organization of Black Law Enforcement Executives, the National
Sheriffs’ Association, and the Police Executive Research Forum.104

The CALEA Standards for Law Enforcement Agencies (2006) dedicates an entire chapter (Chapter
33) to training. That chapter states, in part, in the introduction:

“Training has often been cited as one of the most important responsibilities in any law
enforcement agency. Training serves three broad purposes. First, well-trained officers are
generally better prepared to act decisively and correctly in a broad spectrum of situations.
Second, training results in greater productivity and effectiveness. Third, training fosters


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   CALEA Website, About Us. The CALEA Accreditation program seals are reserved for use by those public safety
agencies that have demonstrated compliance with CALEA Standards and have been awarded CALEA Accreditation
by the Commission.
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cooperation and unity of purpose. Moreover, agencies are now being held legally accountable
for the actions of their personnel and for failing to provide initial or remedial training.”

“Training programs should ensure that the needs of the agency are addressed and that there is
accountability for all training provided. In particular, training should be consistent with the
agency’s mission and values as well as goals and objectives. Agency training functions should be
the responsibility of the training component, which should be accountable for developing and
administering training programs. Program development should provide for input from several
sources, including agency personnel in general, a training committee, the inspections function,
and, most important, the agency’s chief executive officer."

“Career development is a structured process that is utilized by an agency to provide opportunities
for individual growth and development at all levels. It is designed to promote productive,
efficient, and effective job performance and to improve the overall level of individual job
satisfaction.”

“So that agencies can deal effectively with law enforcement problems in an increasingly complex
and sophisticated society, there should be parallel increases in the level of education and training
required for law enforcement officers. Higher education, by itself, is not an absolute answer in
achieving improvement in law enforcement agencies. However, officers who have received a
broad general education have a better opportunity to gain a more thorough understanding of
society, to communicate more effectively with citizens, and to engage in the exploration of new
ideas and concepts.”

Police Training: Basic Homicide Investigation
For all homicide investigators in Washington State, the WSCJTC provides a class that law
enforcement agencies require. The class is called Basic Homicide Investigation (course No. 0240).
I attended the class in 2009 and obtained the certification. The homicide class is a 40-hour class
and covers a variety of critical elements to investigate, manage, and solve homicides.

The Washington State Attorney General's Homicide Investigation Tracking System (HITS)
investigators were the main instructors for the class. In the WSCJTC’s Basic Homicide class105, the
HITS Team instructors emphasized the importance of utilizing their services in homicide
investigations. From the HITS’ Team webpage:

        “Assigned to geographical regions, the Attorney General's HITS investigators
        collect homicide, sexual assault, and missing persons data. The data is then
        analyzed to determine possible linkages. These investigators possess combined
        investigative experience in violent crimes in excess of 100 years. They are a primary
        resource to local law enforcement because of their homicide background,
        experience, and technical expertise. They often are called upon to review cases and

105
   Washington State Criminal Justice Training Commission’s Basic Homicide Investigation, Law Enforcement In-
Service Course No. 0240
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        to provide a new perspective on investigations. HITS services are offered free to
        local law enforcement.”106

The HITS Team instructors also emphasized the importance of small law enforcement agencies
that do not have the experience in murder investigations, to request assistance from the HITS’
Team:

        “Benefits of HITS for small law enforcement agencies that do not encounter
        murder cases frequently or that have investigators inexperienced in specialized
        murder investigation techniques have found the HITS program to be especially
        beneficial. HITS analysts can offer guidance, based upon years of experience, on
        how to organize a murder investigation and provide access to information not
        available in anyone department's files.”107

NYPD Lt. Commander (Ret.) Vernon J. Geberth with over 40 years of law enforcement experience
is a world-renowned expert in death investigations and sex-related homicide investigations.108
Gerberth is the author of the book, Practical Homicide Investigation: Tactics, Procedures, and
Forensic Techniques. This book is used in [police] academies throughout the nation and is
considered the “definitive resource for homicide investigators.” 109

Gerberth explains that for success and credibility in homicide investigations it is imperative to
have experienced law enforcement officers as homicide detectives. Gerberth also explains that
formal education, training schools, and seminars are necessary to achieve the level of expertise
needed.

        “The expertise developed by detectives is based upon extensive experience in the
        field and a familiarity with a large number of cases. Experienced detectives, who
        have recognized a particular modus operandi from a case in the past or a
        perpetrator's distinctive signature, have solved innumerable cases. It's this
        experience coupled with knowledge and continuity within the detective division,
        which assures successful investigations and that crimes will be solved. And
        consequently instills the confidence of the community in their police.

        In order for personnel to attain this level of expertise they must have years and
        years of practical experience coupled with formal education, training schools and
        seminars.”110




106
    https://www.atg.wa.gov/hits-overview
107
    https://www.ojp.gov/pdffiles1/Digitization/138618NCJRS.pdf
108
    https://www.practicalhomicide.com/AboutPHI/bio.htm
109
    https://www.practicalhomicide.com/Textbooks/thebooks.htm
110
    Id.
                                                                        HICKS CONSULTING- LLC   43



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Gerberth also explains that experienced investigators have the leadership to “take charge” of the
crime scene and manage the process accordingly:

        Failure to Manage the Crime Scene Process
        “An investigator should immediately take charge of the crime scene not only for
        the purposes of conducting the investigation but to observe the CSI process and
        recovery of evidence. Failure to maintain "chain of custody" and proper
        documentation of evidence is the responsibility of the assigned detective. One of
        the major missteps in criminal investigation is that someone did not "Take
        Charge" and "Set the Tone" for the investigation. Remember, if you are the
        detective of record and your name is on that case, "That's the most important
        case of your life." You are responsible for the conduct of that investigation and
        the subsequent court testimony to support any effective prosecution.

        It is NOT a popularity contest, so be prepared to "tighten-up" and direct
        personnel accordingly. This is NOT a television production and there is nothing
        exciting about crime scene processing. However, in order to assure that anything
        and everything has been documented and collected follow an established
        protocol, which will allow you look and see everything that is in the scene as well
        as what should be in the scene.”

        Failure the Take Sufficient Photographs
        “Crime scene photographs are permanent and comprehensive pieces of evidence,
        which may be presented in a court of law to prove or disprove a fact in question.
        During the preliminary stage of homicide investigation it is impossible to
        determine all of the things which may become relevant or important later on.
        Therefore, it is imperative that photos are taken of the entire area and location
        where the crime took place, including any sites contiguous with the original
        crime.”

        Remember, you only get one shot at the homicide crime scene, so obtain as
        much information and documentation as possible.

        “A major misstep occurs when you fail to take sufficient crime scene
        photographs. Many times sufficient photographs were either not taken because
        the case was NOT handled as a homicide investigation or because it was
        assumed to be a suicide or natural. In any event you can never recreate the
        original crime scene and go back to obtain these important photos111.”




111
  Practical Homicide Investigation- Tactics, Procedures, and Forensic Techniques (fourth edition by Vernon J.
Gerberth
                                                                                HICKS CONSULTING- LLC           44



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In Gerberth’s publications and also emphasized at the WSCJTC’s Homicide certification class,
Gerberth discussed that interference from high-ranking officials with little to no detective
experience and with their own political agendas was highly problematic.

        “What I consider a Major Misstep is command interference. It is one of the most
        frustrating errors in professional death investigation. It occurs when the too
        many bosses with "Headquarter type mentality" arrive at the scene with their
        own agenda, which has nothing to do with the death investigation. Their
        interests are usually politically driven and are counterproductive to the inquiry.

        Many times, especially if the case is sensational or noteworthy, high-ranking
        officials such as the mayor, the chief of police, fire chiefs, judges, and even the
        chief prosecutor may appear on the scene. They are usually there to "assist" in
        operations, but their "assistance" and overall contribution to scene preservation
        is usually less than helpful. It is important to note that rank does not preclude
        scene contamination.

        Examples of inappropriate actions are making public statements about the case
        before all the facts are known, insisting on providing information to the press in a
        timely fashion. This can be disastrous when prematurely releasing information on
        the cause of death before autopsy.

        In many situations because they are at the scene, they feel the need to direct the
        investigation. Consequently, superior officers will have investigators running in
        different directions, which have nothing to do with the primary investigative
        mission. The result is a loss of a cohesive and central command,
        miscommunications and no one stepping up willing to make decisions and take
        control for fear of alienating one of the bosses.”112

The lead investigators for the Freeman homicide investigation had insufficient experience as law
enforcement officers and minimal experience in investigating complex crimes as officers in the
small town of Coquille. Coquille PD Officer Raymond McNeely had four years of law enforcement
experience and no prior experience leading homicide cases when he was assigned to lead the
Freeman investigation in 2009.113 Coquille PD Officer Chris Webley had three years of law
enforcement experience and no prior experience in homicide cases when he was assigned to the
Freeman investigation in 2009.114




112
    Practical Homicide Investigation- Tactics, Procedures, and Forensic Techniques (fourth edition by Vernon J.
Gerberth
113
    Deposition of Ray McNeely at Page 61, Line 12 through Page 62, Line 21 and Page 65, Lines 7 through 21
114
    Deposition of Chris Webley at Page 53, Line 13 through Page 54, Line 2 and Page 55, Line 7 through Page 56,
Line 3
                                                                                 HICKS CONSULTING- LLC        45



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Also, in my review of the training documents provided in this case for McNeely, Webley, and
Coquille PD Officer David Hall (the first lead case officer in 2000), I did not see a certification
course for homicide investigations for any of these officers prior to their work on the Freeman
investigation. McNeely completed a homicide investigations course in July 2010, long after he
began working as lead case officer in the Freeman case and just one month before McGuffin was
indicted. Hall completed a homicide investigations course in December 2000, months after he
began working as lead case officer in the Freeman case and long after the essential activity on
the case needed to be done to secure key evidence, as discussed above.

The Coquille Police Department officers testified about the lack of training on key elements of a
homicide investigation. Officer McNeely testified in his deposition that he did not receive any
training on common problems in eyewitness identifications.115 He also testified that he did not
receive any training on witness bias or the things that might affect a witness’s ability to perceive
events and relate them credibly.116 He also testified that he did not receive training on conducting
photo arrays of vehicles, such as the one he presented to witness Alicia Hyatt, discussed above.117

Officer Webley testified in his deposition that he did not receive any formal training by the
Coquille Police Department to conduct a photo array or interview witnesses.118 Officer Webley
also testified that he was only “vaguely familiar” with Brady, does not recall any training on it,
and his understanding was limited to issues related to the Brady list.119 Officer Webley testified
that it was not part of his assigned duty to make sure that his reports were sent to the
prosecutor.120

The combination of using officers with negligible experience and no specialized training was an
inappropriate management of personnel in this homicide investigation. CALEA standards require
that, “cases requiring specialized knowledge, or ability should be assigned to those personnel
having that expertise.”121

A generally accepted standard of care and an appropriate course of action in this complex
homicide investigation would have been from the outset to train officers in homicide
investigation, assign trained officers to lead the investigation, and to request mutual aid from
agencies with officers properly trained in homicide investigations. Experienced and certified
homicide investigators should have been assigned as lead investigators throughout the entirety
of this case.

In addition, as Gerberth stated in his publications, “What I consider a Major Misstep is command
interference.”

115
    Deposition of Raymond McNeely at Page 43, Lines 4 through 8
116
    Id., Page 43, Lines 9 through 15
117
    Id., Page 174 Lines 13 through 25
118
    Deposition of Chris Webley, Page 37, Lines 13 through Page 38, Line 3, and Page 148, Lines 6 through 10
119
    Id., Page 47, Lines 6 through 23
120
    Id., Page 43, Lines 12 through 23
121
    CALEA Standards for Law Enforcement Agencies Chapter 42-1, Criminal Investigation and Intelligence, July 2008
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Chief Dannels made several missteps that likely interfered with and altered the course of this
homicide investigation by misdirecting the subordinate untrained officers. To highlight a few:

      •   endorsing, soliciting, and using the Vidocq Society.122
      •   making the unsupported statement on “20/20” that the (first) shoe was found “with
          blood on it.”123
      •   making the unsupported statement on “20/20” that McGuffin’s Mustang had been
          “cleaned and wiped,” and later representing that he had been told that the trunk had
          been “sterilized.”124


I reserve the right to amend my opinions as new information becomes available and in order to
rebut the opinions of any expert offered by the Defendants in this case.

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On this the 5th day of October 2024, in Cheyenne, Wyoming




                                                             Russ Hicks | Hicks Consulting- LLC
                                                             Civil Rights and Criminal Justice Consulting
                                                             253.255.5769 | hicksconsulting@rocketmail.com




122
    August 10, 2016, Letter to Mr. Paul E. Reim, Oregon Department of Justice
123
    ABC’s 20/20, October 2010 transcript, Leah Freeman Homicide
124
    ABC’s 20/20, October 2010 transcript, Leah Freeman Homicide
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                                                      Summary of Qualifications for Russ Hicks



Russ Hicks
Hicks Consulting- LLC
P.O. Box 21161
Cheyenne, Wyoming
253-255-5769




Personal Information:
   •   Born- 1968 Baltimore, Maryland
   •   Resident - Honolulu, Hawaii 1970-1996
   •   Resident- Washington State 1996-2023
   •   Resident- Wyoming 2023-present
   •   Ethnicity- Hispanic/Caucasian

Education:
   •   Kalaheo High School (Honolulu): 1987
   •   University of Hawaii 1987 to 1989
   •   Pierce Community College: 2006-2007

Law Enforcement Employment: 30 years (retired)
   •   Washington State Criminal Justice Training Commission (WSCJTC)- Basic Law
       Enforcement Academy Assistant Commander 2018 to 2021
   •   WSCJTC Police Academy Instructor (TAC Officer) 2007-2021
   •   Fife Police Department- January 2005 to 2016
   •   Tukwila Police Department- 1996 to 2005
   •   Honolulu Police Department- 1991 to 1996

Hicks Consulting Rates: 2024
   •   Consultation, analysis, research, review, and preparation of reports – $275 per hour
   •   Travel Rates- $137.50 per hour (portal to portal)
   •   Deposition/Mediation Hearing/Inquest/Court Testimony– $350 per hour (5-hour
       minimum).


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                                                    Summary of Qualifications for Russ Hicks

Police Assignments Throughout Career:
  •   Covert Undercover Narcotics Officer
  •   Plainclothes Narcotics Officer
  •   Organized Crime Drug Enforcement Task Force
  •   Forfeiture Detail
  •   Witness Protection Unit
  •   Internal Affairs
  •   Bicycle Patrol Unit
  •   Plainclothes officer
  •   Undercover Vice
  •   Civil Disturbance Unit
  •   Hostage Negotiator
  •   Field Training/Police Training Officer
  •   Supervisory assignments in uniform patrol, hostage negotiation, and covert operations
  •   Patrol Officer (rural and urban environments)
  •   Community Policing Team
  •   WSCJTC Police Academy Instructor (TAC Officer)
  •   WSCJTC Basic Law Enforcement Academy Assistant Commander

Police Instructor Assignments:
  •   WSCJTC Basic Law Enforcement Academy Assistant Commander
  •   WSCJTC Police Academy Instructor (TAC Officer)
  •   WSCJTC Equivalency Academy Manager/Instructor
  •   WSCJTC Bias Based Policing / Implicit Bias Instructor
  •   WSJCTC Crisis Intervention Training Instructor
  •   WSCJTC Criminal Law Instructor
  •   WSCJTC Report Writing Instructor
  •   WSCJTC Criminal Procedures Instructor
  •   WSCJCT Use of Force Instructor
  •   WSCJTC De-escalation Instructor
  •   WSCJTC Criminal Investigation Instructor
  •   WSCJTC Domestic Violence Instructor
  •   WSCJTC Range Safety Officer
  •   WSCJTC Respect Effect Instructor
  •   WSCJTC Patrol Tactics Instructor
  •   WSCJTC Pursuit Driving Instructor
  •   WSCJTC DUI Investigations Instructor
  •   WSCJTC Traffic Instructor

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                                                     Summary of Qualifications for Russ Hicks

  •   WSCJTC Crisis Communications Instructor
  •   WSCJTC Blue Courage Instructor
  •   WSCJTC Ethics Instructor
  •   National Instructor for Georgetown Law Program; Active Bystandership for Law
      Enforcement (ABLE)

Awards:
  •   Highest Scholastic Award- 112 Honolulu PD Recruit Class- 1991
  •   M.A.D.D. Top DUI Officer 2002-2003- Tukwila PD
  •   Medal of Merit for Active Shooter Situation- 2005 Tukwila PD
  •   Fife Police Department Officer of the Year- 2005
  •   A.W.C.- Diversity Award 2005-2006 for Fife PD Hispanic Outreach Program
  •   Numerous commendations in the Honolulu PD, Tukwila PD, Fife PD, WSCJTC
  •   Recipient of the WSCJTC Leadership Award-2014

Media:
  •   Actor for Fox’s Television Show “America’s Most Wanted” 1993 episode in Honolulu
      (reenactment of dynamic search warrant service)
  •   Featured in Honolulu magazine “H3O” for a story on my transition from Pro Surfing to
      the Honolulu Police Department 1994
  •   Cover of Law-and-Order Magazine Vol. 6, No. 7 June 1998
  •   Featured on ABC Seattle Affiliate KOMO 4 News, for a demonstration of a shooting
      simulator for police use- 1998
  •   Featured on NBC Affiliate King 5 News, while on patrol with Reporter Linda Byron for
      story on crime reduction on Hwy 99 in Tukwila- 1999
  •   Featured on German Television Show “Galileo” for a demonstration of shooting
      simulator and reenactment of a foot pursuit- 1999
  •   Authored a published article on skateboarding and police work for the International
      Longboard Skateboarding Magazine- 2001
  •   Featured on International Skateboard Video Magazine “The Concrete Wave” for a story
      on life as a surfer/skateboarder along with my profession as Police Officer. 2002
  •   Authored a published article in the international skateboarding magazine “The Concrete
      Wave” for a story on my life as former pro surfer and skateboarder that lived in
      Honolulu- 2003
  •   Authored 15 articles on various Community Policing Topics for local newspaper “The Fife
      Free Press”- 2005-2007
  •   Featured in (30) articles/segments on ABC, NBC, CBS, FOX, PBS, CNN, Washington Post,
      Starbucks Media, MSNBC, Wall Street Journal, NPR, Seattle Times, Spokesman Review
      and local radio stations regarding local and national police procedures, current
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                                                       Summary of Qualifications for Russ Hicks

      controversial police events, use of force, tactics, de-escalation, academy training, and
      police liability at the WSCJTC: 2012-2021.


Significant Certifications:
  •   Honolulu Police Academy: 1991 / 1015 hours
  •   Search Warrant Entry Tactics: Trained by HPD SWAT: 1992
  •   Honolulu Police Drug Investigator 1992
  •   National Police Bicycle Certification: Honolulu 1994
  •   Washington State Equivalency Academy: 1996
  •   Officer Survival: 1998
  •   Drug Investigator 1998
  •   Officer Involved Shooting Investigations: 1999
  •   Hostage Negotiations: FBI 2000
  •   Law Enforcement Survival Spanish: 2001
  •   Advanced Hostage Negotiations: 2001, 2002
  •   Field Training Officer: 2004
  •   Police Training Officer: 2006
  •   FEMA Management- Homeland Security for Domestic Violent Extremists- 2006
  •   Community Policing: 2006
  •   Crime Prevention Through Environmental Design: 2006
  •   Instructor Development: 2007
  •   WSCJTC General Instructor: 2007 to 2021
  •   WSCJTC Use of Force Instructor 2007 to 2021
  •   WSCJTC Criminal Procedures Instructor: 2007 to 2021
  •   WSCJTC BLEA Equivalency Instructor: 2007 to 2021
  •   WSCJTC Patrol Tactics Instructor: 2007 to 2021
  •   WSCJTC Criminal Investigations Instructor: 2007 to 2021
  •   WSCJTC Bias Based Policing / Implicit Bias Instructor 2007-2021
  •   WSCJTC Crisis Instructor 2012-2021
  •   WSCJTC Police Problem Based Policing Certification: 2008
  •   WSCJTC First Line Supervision: 2008
  •   WSCJTC Middle Management: 2008
  •   Critical Incident Stress Management- Group Crisis Intervention: 2008
  •   WSCJTC Homicide Investigator: 2009
  •   FEMA Field Force Operations (Riot Training): 2009
  •   Critical Incident Stress Management- In Line of Duty Death: 2010
  •   WSCJTC Criminal Law Instructor: 2012 to 2021
  •   WSCJTC Domestic Violence Instructor 2012 to 2021
                                                                                                 4



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                                                        Summary of Qualifications for Russ Hicks

   •   WSCJTC Traffic Instructor: 2012 to 2021
   •   WSCJTC De-Escalation Instructor 2012-2021
   •   Trainer the Trainer certification for “The Respect Effect”: 2014
   •   Trainer the Trainer certification for “Blue Courage”: 2014
   •   WSCJTC Crisis Intervention Instructor: 2015 to 2021
   •   WSCJTC Pursuit Driving Instructor 2017 to 2021
   •   WSCJTC Active Shooter Instructor: 2017 to 2021
   •   21st Century Police Leadership: 2019
   •   VirTra Simulation Instructor for police use of force decisions: 2019
   •   WSCJTC Range Safety Officer: 2020
   •   Georgetown Law Program- Active Bystandership for Law Enforcement (ABLE): 2020

Other Desirable Qualifications:
   •   Outstanding record of commendations and achievement throughout career
   •   No disciplinary action for entire career
   •   Met or exceeded standards on every performance evaluation during entire career

Driving School Instructor
   •   Certified Washington State Driving School Instructor from 2021-2023.
   •   911 Driving School in Bonney Lake, WA

Hicks Consulting Business:
Limited liability company founded by Russ Hicks in 2010. Hicks Consulting is a highly qualified
and unique company focusing on providing; courtroom expert witness, criminal justice
expertise, case analysis, civil investigations, criminal prosecution/defense, consulting, crisis
management, and dynamic training and testing (in person and online) for private businesses
and government agencies in the following areas:

   •   Domestic Violence
   •   Criminal Procedures
   •   Criminal Investigations
   •   Criminal Law
   •   Use of Force
   •   Police Investigations
   •   Hostage Negotiations
   •   Officer Involved Shootings
   •   Pursuit Driving
   •   Police Liability

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                                                  Summary of Qualifications for Russ Hicks

•   Police Tactics
•   Implicit Bias
•   Emotional Intelligence
•   Workplace Effectiveness
•   Crisis Communication
•   Crisis Intervention
•   De-escalation Training
•   Law Enforcement Training
•   Crime Prevention
•   Workplace Liability
•   Sexual Harassment
•   Police Disciplinary Issues
•   Workplace Security Analysis
•   Expert Witness Testimony
•   Report Writing
•   Civil Case Investigator
•   Crisis Management
•   Crisis Response and Management
•   Crisis Media Messaging and Mitigation
•   Internal Investigations
•   Constitutional Rights (US and Washington State)
•   Firearms laws and rights (US and Washington State)
•   Leadership Training
•   Community Outreach




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